                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF DELAWARE

JAMES N. MCCARDELL,

              Plaintiff,

       V.                                     : Civil Action No. 17-1121-RGA

CONNECTIONS COMMUNITY
SUPPORT PROGRAMS, INC.,

              Defendant.

                                        MEMORANDUM

       1.     Introduction.       Plaintiff James N. Mccardell, an inmate at the James T.

Vaughn Correctional Center in Smyrna, Delaware, filed this action pursuant to 42

U.S.C. § 1983. (D.I. 1). Plaintiff appears prose and has granted leave to proceed in

forma pauperis.    (D. I. 6).   On October 22, 2018, Plaintiff filed a second motion for

injunctive relief for medical care.    (D.I. 44).   Defendant opposes the motion.     (D.I. 45).

       2.     Motion for Injunctive Relief. A preliminary injunction is "an

extraordinary remedy that should be granted only if (1) the plaintiff is likely to succeed

on the merits; (2) denial will result in irreparable harm to the plaintiff; (3) granting the

injunction will not result in irreparable harm to the defendant; and (4) granting the

injunction is in the public interest." Nutrasweet Co. v. Vit-Mar Enterprises, Inc., 176

F.3d 151, 153 (3d Cir. 1999). "[F]ailure to establish any element in [a plaintiff's] favor

renders a preliminary injunction inappropriate." Id. at 153. The standards for

obtaining a temporary restraining order are the same.        Furthermore, because of the

intractable problems of prison administration, a request for injunctive relief in the prison
context must be viewed with considerable caution.       Rush v. Correctional Med.

Services, Inc., 287 F. App'x 142, 144 (3d Cir. 2008).

         3.    Background. As set forth in the First Amended Complaint (D.I. 8), on

December 15, 2015, Plaintiff was shot and sustained injuries that require him to use a

colostomy bag and a suprapubic catheter.       Plaintiff seeks specialized medical care

designated by a medical specialist.    (D.I. 44). Connections responds that, despite

some challenges in having an outside specialist treat Plaintiff for his urinary related

issues, it was able to secure a Johns Hopkins' urologist for that purpose.    Plaintiff has

been seen by the urologist and is currently scheduled for further follow-up care and

treatment at Johns Hopkins.     (D.I. 45).

         5.    Based upon Connections' representations, the Court concludes that

Plaintiff has not met the requirements for injunctive relief.   Medical care has been

provided, Plaintiff has been seen by a specialist, and follow-up care is scheduled. As a

result, Plaintiff has failed to show a likelihood of success on the merits, and has failed to

demonstrate irreparable harm. Therefore, the Court will deny the motion.

         6.     Conclusion.    For the above reasons, the Court will deny the motion for

injunctive relief and a temporary restraining order.    (D.I. 44). A separate order shall

issue.



November      l~ ,
               2018
Wilmington, Delaware
